      Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 1 of 23




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS




 ESTADOS UNIDOS MEXICANOS,
                Plaintiff,

vs.                                     Civil Action No. 1:21-CV-11269-FDS

 SMITH & WESSON BRANDS, INC., et al.,
               Defendants.




PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
 BARRETT FIREARMS MANUFACTURING INC.’S MOTION TO DISMISS
             Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 2 of 23




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 4

I.        THE COURT HAS SUBJECT MATTER JURISDICTION OVER
          BARRETT .......................................................................................................................... 4

II.       THE EXERCISE OF PERSONAL JURISDICTION OVER BARRETT
          ADHERES TO DUE PROCESS. ....................................................................................... 7

III.      THE COMPLAINT SUFFICIENTLY ALLEGES CLAIMS AGAINST
          BARRETT. ....................................................................................................................... 11

          A.         The Complaint Adequately Alleges a Claim of Public Nuisance
                     Against Barrett (Count Two). ............................................................................... 13

          B.         The Complaint Adequately Alleges a Claim of Negligence Per Se
                     Against Barrett (Court Four). ................................................................................ 14

          C.         The Complaint Adequately Alleges a Claim of Unjust Enrichment
                     Against Barrett (Count Six). ................................................................................. 15

          D.         The Complaint Adequately Alleges a Claim for Recovery of
                     Punitive Damages Against Barrett (Count Nine).................................................. 17

CONCLUSION ............................................................................................................................. 17




                                                                     i
              Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 3 of 23




                                                    TABLE OF AUTHORITIES
Cases
Adams v. Gissell, No. 20-11366-PBS, CV 2021 WL 2786277 (D. Mass. May 24, 2021) ............. 8
Adelson v. Hananel, 510 F.3d 43 (1st Cir. 2007) ........................................................................... 7
Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................... 12
Baker v. Equity Residential Mgmt., L.L.C., 390 F. Supp. 3d 246 (D. Mass. 2019) ...................... 17
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ......................................................................... 12
Bennett v. Spear, 520 U.S. 154 (1997) ........................................................................................... 5
Big Bob’s Flooring Outlet of Am., Inc. v. Elyachar, No. CV 20-11379-TSH, 2021 WL 4477438
  (D. Mass. Sept. 30, 2021) ......................................................................................................... 12
Block v. Meese, 793 F.2d 1303 (D.C. Cir. 1986) ............................................................................ 6
Bobzien v. Philip Morris USA Inc., 2021 WL 4147011 (N.D. Fla. June 16, 2021) ..................... 11
Branch Metal Processing, Inc. v. Bos. Edison Co., 952 F. Supp. 893 (D. R. I. 1996) ................. 11
Camden County Bd. of Chosen Freeholders v. Beretta, 273 F. 3d 536 (3d Cir. 2011) ................ 13
Cent. Anesthesia Assoc. v. Worthy, 325 S.E.2d 819 (Ga. App. 1984) .......................................... 14
Chao v. Ballista, 806 F. Supp.2d 358, 378 (D. Mass. July 28, 2011)........................................... 11
Chouinard v. Marigot Beach Club and Dive Resort, No. CV 20-10863-MPK, 2021 WL 2256318
  (D. Mass. June 3, 2021) .............................................................................................................. 7
City and County of San Francisco v. Purdue Pharma L.P., 491 F. Supp. 3d 610 (N.D. Cal. 2020)
  ................................................................................................................................................... 13
City of Boston v. Smith & Wesson Corp., No. 199902590, 2000 WL 1473568 (Mass. Sup. Ct.
  July 13, 2000)................................................................................................................ 13, 15, 16
City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002) ............................ 13, 15
City of Gary v. Smith & Wesson, 801 N.E.2d 1222 (Ind. 2003) ................................................... 13
City of L.A. v. Wells Fargo & Co., 22 F. Supp. 3d 1047 (C.D. Cal. 2014) .................................. 16
Dantzler, Inc. v. Empresas Berrior Inventory and Operations, Inc., 958 F.3d 38 (1st Cir. 2020) . 4
Dept. of Com. v. New York, 139 S. Ct. 2551 (2019) ....................................................................... 6
Diviacci v. Affinion Group, Inc., No. 14–10283–IT, 2015 WL 3631605 (D. Mass. Mar. 11, 2015)
  ................................................................................................................................................... 17
Ecklebarger v. Frank, 732 So. 2d 433 (Fla. Dist. Ct. App. 1999) ................................................ 14
Figueroa v. Cactus Mexican Grill LLC, No. CV 21-10445-FDS, 2021 WL 5868277 (D. Mass.
  Dec. 10, 2021) ........................................................................................................................... 12
Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017 (2021) ............................... 7, 8
Greenwald v. Chase Manhattan Mortg. Corp., 241 F.3d 76, 78 (1st Cir. 2001).......................... 16



                                                                          ii
             Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 4 of 23




Hocking Water Ass’n v. E.I. du Pont de Nemours & Co., 91 F. Supp. 3d 940 (S.D. Ohio 2015) 16
In re Pharm. Indus. Average Wholesale Price Litig., No. CIV A 01-12257-PBS, 2007 WL
   1051642 (D. Mass. Apr. 2, 2007) ............................................................................................. 17
Knox v. Metal Forming, Inc., 914 F.3d 685 (1st Cir. 2019) ........................................................... 7
Little Rhode Island v. Lead Indus. Ass'n, Inc., No. 99-5226, 2001 WL 345830 (R.I. Super. April
   2, 2001) ..................................................................................................................................... 16
Lorenzen v. Toshiba Am. Info. Sys., Inc., No. CV 20-186-JJM-PAS, 2021 WL 5051175 (D.R.I.
  2021) ........................................................................................................................................... 8
Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) ..................................................................... 5
Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47 (1st Cir. 2009) .......... 15
Massachusetts v. Mylan Lab’ys, 357 F. Supp. 2d 314 (D. Mass. 2005) ....................................... 16
O’Hara v. Diageo-Guinness, USA, Inc., 306 F. Supp. 3d 441 (D. Mass. 2018) ......................... 15
Pelletier v. Sordoni/Skanska Constr. Co., 945 A.2d 388 (Conn. 2008) ....................................... 14
Rhodes v. Ocwen Loan Servicing, LLC, 44 F.Supp.3d 137 (D. Mass. 2014) ............................... 12
Ruiz v. Bally Total Fitness Holding Corp., 496 F.3d 1 (1st Cir. 2007) ........................................ 12
Simon v. E. Kentucky Welfare Rts. Org., 426 U.S. 26 (1976) ........................................................ 6
SiOnyx, LLC v. Hamamatsu Photonics K.K., 332 F. Supp. 3d 446 (D. Mass. 2018) ................... 17
Smith v. Owen, 841 S.W.2d 828 (Tenn. Ct App.1992) ....................................................... 3, 13, 14
Sorenson v. H & R Block, Inc., 2002 WL 31194868 (D. Mass. Aug. 27, 2002) .......................... 14
Spokeo, Inc. v. Robins, 578 U.S. 330 (2016) .................................................................................. 4
United States v. Students Challenging Regul. Agency Procs. (SCRAP), 412 U.S. 669(1973) ....... 6
White v. Smith & Wesson, 97 F. Supp. 2d 816 (N.D. Ohio 2000) .......................................... 13, 16
Other Authorities
41 C.J.S. Implied Contracts § 9 .................................................................................................... 15
9 Mass. Jurisprudence § 2:5 (1993) .............................................................................................. 15
Dan B. Dobbs, The Law of Torts § 174 (2000) ............................................................................. 11
Gov’t Accountability Office, Criminal Activity Associated with .50 Caliber Semiautomatic
  Rifles (1999) ............................................................................................................................. 10
Restatement (Third) of Restitution and Unjust Enrichment § 4 (2011)........................................ 17
Restatement of Restitution § 1 ...................................................................................................... 15




                                                                        iii
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 5 of 23




                                         INTRODUCTION

         Plaintiff Estados Unidos Mexicanos (“the Government”) submits this opposition to the

separate motion to dismiss filed by Barrett Firearms Manufacturing, Inc. (“Barrett”). For

background facts, we refer to the Government’s opposition to the joint motion to dismiss.1 Here

we address Barrett’s arguments on jurisdiction and whether the Government sufficiently pleaded

certain claims against Barrett.

         Barrett contends that the trafficking of weapons to Mexico is “no fault of Barrett,”2 but

the Government’s Complaint sufficiently pleads otherwise. Barrett markets, distributes, and sells

guns in ways it knows routinely arm the drug cartels in Mexico.3 Its policy is to sell to any dealer

that has a United States federal license, regardless of red flags indicating that the buyer flouts the

law and helps move Defendants’ guns into Mexico.4 Barrett refuses to monitor or discipline its

distribution systems in any way to prevent this rampant gun trafficking.5

         Barrett also designs military-style assault weapons and markets them to attract and arm

the cartels.6 It sells to the civilian market .50 caliber sniper rifles that can shoot down helicopters




1
  See Plaintiff’s Memorandum of Law in Opposition to Defendant’s Joint Motion to Dismiss
(“Opp. to Jnt. Mem.”). Barrett’s assertion in its “Statement of Facts” that “[t]he Complaint
does not allege that Barrett failed to comply with a law, rule, or regulation which resulted in
harm to the Plaintiff,” see Barrett’s Memorandum of Law in Support of Its Motion to
Dismiss (“Barrett Mem.”) 2, is blatantly wrong. The Complaint alleges in detail the various
U.S. statutes that Barrett violates directly or as an accomplice: straw purchases, unlicensed
sales, export laws, Mexican import laws. See e.g., Compl. ¶¶ 9, 26-29, 55-59, 63-65, 67, 69,
229-230, 234-236, 248-250, 335-338, 376, 384.
2
    Barrett Mem. 3.
3
    Complaint, ECF No. 1 (“Compl.”) ¶¶ 3, 45.
4
    Id. ¶ 7-9, 227-236.
5
    Id. ¶¶ 227-236, 253-257.
6
    Id. ¶¶ 278-332.


                                                   1
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 6 of 23




and penetrate lightly armored vehicles and bullet-proof glass.7 Barrett designs its purportedly

“civilian” semi-automatic rifles for the battlefield rather than for sport, making them easily

convertible into fully automatic machineguns.8 Barrett knows that its distributors and dealers sell

these military weapons in bulk, with no restrictions—clearly intended for the traffickers.9 The

cartels use these weapons of war to cause devastating injuries to the Government and its

citizens.10

          Barrett’s motion to dismiss the Complaint seeks impunity for this conduct. It argues that

the Government does not have Article III standing because there purportedly is no harm

traceable to any actions by Barrett. But Barrett disregards the Complaint’s plausible allegations.

It alleges in detail that Barrett foresees that its guns are trafficked into Mexico;11 it undeniably

could stem the unlawful tide by implementing reasonable controls, but refuses to do so;12 and it

systematically and repeatedly causes massive injuries to the Government, including the murder

of its citizens, employees, judges, police, and soldiers.13 The “irreducible constitutional

minimum” of standing is satisfied here, and this Court has subject matter jurisdiction.

          Barrett also contends that its “lawful” distribution policies in Massachusetts are

insufficient contacts with the forum to establish personal jurisdiction.14 The policies are not

lawful, and they are easily sufficient to satisfy due process.


7
    Id. ¶¶ 292-299.
8
    Id. ¶¶ 300-313.
9
    Id. ¶¶ 253-257.
10
     Id. ¶ 336.
11
     Id. ¶¶ 281, 286-87, 290-291, 297-98, 335-340.
12
     See, e.g., Compl. ¶¶ 116, 115–226, 227, 247, 447-474.
13
     Id. ¶¶ 446-505.
14
     Barrett Mem. 4.


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            Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 7 of 23




           Massachusetts is the King of Guns15 and is referred to as “Gun Valley.”16 It has been

steeped in firearms manufacturing since 1777, when George Washington selected Springfield as

the site for the nation’s first arsenal.17 Recent estimates show that Massachusetts accounts for

one-quarter of all weapons manufactured in the United States, more than any other state.18

Massachusetts is home to Defendant Smith & Wesson19 and two large, national gun wholesalers,

Defendant Interstate Arms20 and Camfour, Inc. 21

           Barrett is a national firearms manufacturer that does business throughout the United

States, including very substantial business in Massachusetts.22 Barrett intentionally directed its

commercial activities to this forum by regularly advertising and selling its guns here.23 Barrett

imposes its unlawful distribution policies—the policies about which the Government

complains—on gun dealers in Massachusetts.24

           Specifically, the Complaint alleges that Barrett’s policies for Massachusetts dealers

resulted in guns that Barrett sold into Massachusetts “being trafficked into Mexico and used in

criminal activities there, causing the harm about which the Government complains.”25 The



15
     Declaration of Nicholas W. Shadowen (“Shadowen Decl.”) ¶ 20(c)(i).
16
     Shadowen Decl. ¶ 20(b).
17
     Id.
18
  Id. ¶ 20(c)(ii). In 2016, Massachusetts was ranked among the top 10 states for total
economic output for arms and ammunition in the U.S. Id. ¶ 20(a)(iii).
19
     Id. ¶ 20(e); id. ¶ 20(f).
20
     Id. ¶ 18(a).
21
     Id. ¶ 19(a)(i).
22
     See id. ¶ 3
23
     See id.
24
     Compl. ¶ 45.
25
     Id.


                                                    3
               Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 8 of 23




Government’s expert report on this issue establishes that in the last ten years approximately 500

to 1,800 of Barrett’s guns were trafficked from Massachusetts into Mexico.26

          These numbers—modest in relation to those of the other Defendants—do not reflect the

impact that Barrett’s Massachusetts-sourced guns have in Mexico.27 There is no question that the

allegations against Barrett are sufficiently related to its in-forum contacts to satisfy due process.

          Barrett further asserts that the Complaint does not plead valid claims under

Massachusetts law. But Massachusetts’s choice-of-law rule selects the substantive law of Mexico

to apply here. Barrett offers no analysis to the contrary. Even so, as set out below, dismissal

would not be warranted under Massachusetts law.

          Barrett’s motion should be denied.


                                              ARGUMENT

I.        THE COURT HAS SUBJECT MATTER JURISDICTION OVER BARRETT

          Article III standing “is a prerequisite to a federal court’s subject matter jurisdiction,”28

but there is no basis for dismissal here because the Government has “clearly … allege[d] facts

demonstrating” each of the three required elements, including that the Government has “(1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial decision.”29




26
     See infra Section II.
27
     See id.
28
  Dantzler, Inc. v. Empresas Berrior Inventory and Operations, Inc., 958 F.3d 38, 46 (1st Cir.
2020).
29
     See Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).


                                                     4
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 9 of 23




         Initially, the Government sufficiently pleaded injuries that are likely to be redressed by a

favorable judicial decision.30 The Complaint alleges that “[t]he Government has been forced to

expend massive amounts of resources to address the foreseeable and widespread epidemic of gun

violence flowing from Defendants’ unlawful misconduct,” and enumerates, with specificity, its

many injuries.31 And the damages and injunctive relief that the Government seeks would stem

the flow of illegally trafficked weapons into Mexico and compensate the Government for the

significant losses Barrett and the other Defendants inflict on it.32

         The Complaint also adequately pleads the traceability element. Barrett’s assertion that

“[t]he Complaint does not offer a single factual allegation challenging the actions(s) of Barrett

that supposedly cause the harm incurred by Plaintiff”33 is patently wrong. The Complaint clearly

alleges that “Barrett’s unlawful conduct as alleged throughout this Complaint—including the

sales, marketing, advertising, and distribution policies and practices that occurred in Middlesex

County—resulted in guns that its dealers sold being trafficked into Mexico and used in criminal

activities there, causing the harm about which the Government complains.”34And contrary to




30
  Notably, the plaintiff’s burden is “relatively modest at this stage of the litigation.” Bennett v.
Spear, 520 U.S. 154, 170-71 (1997). “‘At the pleading stage, general factual allegations of injury
resulting from the defendant’s conduct may suffice, for on a motion to dismiss we presume that
general allegations embrace those specific facts that are necessary to support the claim.’” Id. at
168 (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–561 (1992)) (other internal quote
marks omitted; cleaned up).
31
     Compl. ¶ 448-49.
32
     See id. at 134 (“Demand for Judgment”).
33
     Barrett Mem. 4.
34
     Compl. ¶ 45.


                                                   5
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 10 of 23




Barrett’s assertion,35 the Complaint also alleges that Barrett’s sales and distribution practices

violate the applicable law of Mexico and the United States.36

           Barrett’s argument is based on the erroneous premise that a plaintiff lacks standing when

a defendant’s conduct harms the plaintiff through the reaction of third parties. There is no such

rule of law. Indeed, such an argument “is impossible to maintain.”37 The Supreme Court has held

that “indirectness of injury [is] not necessarily fatal to standing.”38 It has expressly rejected the

argument that harm is not fairly traceable where “such harm depends on the independent action

of third parties.”39 Indeed, traceability may exist when the harm depends on third parties

“choosing to violate their legal duty.”40 All that is necessary is that “third parties will likely react

in predictable ways . . . even if they do so unlawfully.”41 It is certainly predictable that the cartels

would use Defendants’ guns to inflict the harm alleged.42




35
     Barrett Mem. 4.
36
 See, e.g., Compl. ¶¶ 78, 114, 208, 235, 247, 310, 313, 524 (alleging that Barrett violated the
Mexico and U.S. tort law and federal export and gun laws).
37
  Block v. Meese, 793 F.2d 1303, 1309 (D.C. Cir. 1986) (Scalia, J.) (explaining that “[i]f that
principle were true, it is difficult to see how libel actions or suits for inducing breach of contract
could be brought in federal court”).
38
   Simon v. E. Kentucky Welfare Rts. Org., 426 U.S. 26, 44 (1976); see also id. at 62 (noting that
“[i]n SCRAP, although the injury was indirect and ‘the Court was asked to follow (an) attenuated
line of causation,’ the complaint nevertheless ‘alleged specific and perceptible harm’ flowing
from the agency action”) (quoting United States v. Students Challenging Regul. Agency Procs.
(SCRAP), 412 U.S. 669, 688, 689 (1973)).
39
     Dept. of Com. v. New York, 139 S. Ct. 2551, 2565 (2019).
40
     Id.
41
  Id. at 2566 (explaining that “‘Article III requires no more than de facto causality’” (quoting
Block, 793 F.2d at 1309)).
42
     Compl. ¶¶ 281, 286-87, 290-291, 297-98, 335-340.


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           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 11 of 23




          Barrett argues that its guns “legally and lawfully entered the stream of commerce.”43 But

the Complaint alleges that Barrett unlawfully manufactures, markets, sells, and distributes its

guns, actively and knowingly facilitating the trafficking of these weapons into Mexico.44

          That Barrett chooses to ignore the consequences of its active indifference and

characterize its conduct as “lawful” is expected, but insufficient to defend against jurisdiction in

this case. The “irreducible constitutional minimum” of standing is satisfied here, and this Court

has subject matter jurisdiction.


II.       THE EXERCISE OF PERSONAL JURISDICTION OVER BARRETT ADHERES
          TO DUE PROCESS.

          “[T]he constitutional analysis … has three components: relatedness, purposeful

availment, and reasonableness.”45 Barrett addresses only the second element. As set out below,

the exercise of specific jurisdiction over Barrett comports with this requirement.46

          “The relatedness standard is a ‘flexible, relaxed standard,’ . . . which focuses on the

‘nexus between the defendant[s’] contacts and the plaintiff's cause of action.’”47 The Supreme

Court recently “emphasized that the classic formulation of the constitutional relatedness

inquiry—‘arise out of or relate to’—is disjunctive” and rejected the notion that a ‘strict causal

relationship’ is necessary.” 48 As explained in Ford, “[t]he first half of that standard asks about


43
     Barrett Mem. 4.
44
     See nn 3-5, supra.
45
     Knox v. MetalForming, Inc., 914 F.3d 685, 690 (1st Cir. 2019).
46
   Barrett also does not address any additional or different elements of Massachusetts’s long-arm
statute. See Barrett Mem. 5 n.3.
47
     Adelson v. Hananel, 510 F.3d 43, 49 (1st Cir. 2007) (citations omitted).
48
  Chouinard v. Marigot Beach Club and Dive Resort, No. CV 20-10863-MPK, 2021 WL
2256318, at *8 (D. Mass. June 3, 2021) (citing Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
141 S. Ct. 1017, 1026 (2021)) (emphasis original); see also Lorenzen v. Toshiba Am. Info. Sys.,



                                                    7
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 12 of 23




causation; but the back half, after the ‘or,’ contemplates that some relationships will support

jurisdiction without a causal showing.”49 The Court further observed that, while “the phrase

‘relate to’ incorporates real limits, as it must to adequately protect defendants foreign to a forum,

. . . we have never framed the specific jurisdiction inquiry as always requiring proof of

causation—i.e., proof that the plaintiff’s claim came about because of the defendant’s in-state

conduct.”50

           Ignoring the Supreme Court’s Ford decision, Barrett contends that proof of causation is

required.51 But post-Ford the law is that “[a]bsent causation, specific jurisdiction exists if there is

‘an affiliation between the forum and the underlying controversy, principally, an activity or an

occurrence that takes place in the forum State and is therefore subject to the State’s

regulation.’”52

           That affiliation is clearly present here. Despite Barrett’s deflections,53 the Complaint

plausibly alleges that Barrett recklessly and unlawfully distributes and sells guns into




Inc., No. CV 20-186-JJM-PAS, 2021 WL 5051175, at *1 (D.R.I. 2021) (“The Ford Motor case
expanded the constitutional reach of personal jurisdiction … .”).
49
     Ford, 141 S. Ct. at 1026.
50
     Id.
51
   See Barrett Mem. 10 (arguing that the Government’s claims do not arise from Barrett’s forum
contacts because the complaint does not contain “any factual assertions that even a single gun
manufactured by Barrett Firearms was sold or transferred into the Commonwealth of
Massachusetts and thereafter smuggled into Mexico”). Barrett also points to the fact that the
complaint “fails to reference even a single gun sold in Massachusetts that was later recovered at
a crime scene or elsewhere in Mexico.” To be clear, the issue here is not whether Barrett’s
weapons were recovered from a crime scene but whether they were trafficked into Mexico.
52
  Adams v. Gissell, No. 20-11366-PBS, CV 2021 WL 2786277, at *9 n. 13 (D. Mass. May 24,
2021) (quoting Ford, 141 S. Ct. at 1025).
53
     Barrett Mem. 9-10.


                                                     8
          Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 13 of 23




Massachusetts, choosing not to put any monitoring and disciplining checks in place.54 And the

Complaint specifically alleges that the unlawful policies that Barrett imposed on Massachusetts

dealers resulted in guns that Barrett sold into Massachusetts “being trafficked into Mexico and

used in criminal activities there, causing the harm about which the Government complains.”55

The foundation of Barrett’s argument against personal jurisdiction is a factual denial of that

allegation.56

         The Government therefore offers the Expert Report of Lucy P. Allen, an economist at the

international consulting firm NERA Economic Consulting and a former member of the Council

of Economic Advisers for Presidents George H.W. Bush and Bill Clinton.57 Among other

qualifications, she has been “qualified as an expert and testified in court on various economic

and statistical issues relating to firearms, including the flow of firearms into the criminal market

and analyses of data on firearm traces from the ATF.”58

         The ATF traces crime guns from the last purchaser back up through the chain of

distribution to the dealer and the distributor.59 The last set of that data that is publicly available

shows the percentage of Barrett’s crime guns recovered in Mexico that were traced to

Massachusetts.60 Ms. Allen applies that percentage to estimates of the total number of guns




54
     Compl. ¶¶ 7, 227-236, 253-257.
55
     Compl. ¶ 45.
56
     Barrett Mem. 9-10.
57
     Shadowen Decl., Ex. 1, Expert Report of Lucy P. Allen (“Allen Report”).
58
     Allen Report ¶ 5.
59
     Compl. ¶ 92.
60
     Allen Report ¶ 15.


                                                   9
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 14 of 23




trafficked into Mexico in the period 2011– 2020, yielding an estimate of the number of Barrett

guns trafficked from Massachusetts to Mexico.61

          The total number of guns annually trafficked from the United States to Mexico will be

the subject of fact and expert discovery later in this litigation. Assuming that the total number is

200,000 annually, Ms. Allen estimates that the number of Barrett guns trafficked from

Massachusetts to Mexico from 2011 to 2020 is nearly 500.62 Assuming the total number is

730,000 instead of 200,000, she estimates that the number of Barrett’s guns trafficked from

Massachusetts to Mexico in that period is in excess of 1,800.63 And the number of

Massachusetts-sourced Barrett guns trafficked to Mexico is substantially increasing in more

recent years.64

          The number of Barrett guns trafficked into Mexico is particularly significant given the

extreme lethality of its .50-caliber sniper rifle. Barrett’s .50 caliber sniper rifle is a weapon of

war. In 1999, the U.S. Government Accountability Office reported that Barrett’s .50 caliber rifles

were linked to criminal misuse “with a nexus to terrorism, outlaw motorcycle gangs,

international and domestic drug trafficking, and violent crime.”65 Defendant Barrett’s .50 caliber

sniper rifle shoots rounds that are 5 to 10 times larger than those fired by semi-automatic models,

including the AR-15 and AK-47. Given the range and power of a .50 caliber Browning Machine

Gun round, a rifle chambered to fire this round can be used to take down slow- or low-flying



61
 Her number is conservative because the percentage of U.S. retail guns sales made in
Massachusetts has increased substantially in recent years. Id. ¶ 18.
62
     Id. ¶ 19, Chart, Column 3.
63
     Id. ¶ 19, Chart, Column 4.
64
     Id. ¶ 20.
65
  Compl. ¶ 293 (citing Gov’t Accountability Office, Criminal Activity Associated with .50
Caliber Semiautomatic Rifles 2 (1999)).


                                                  10
          Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 15 of 23




aircraft, punch holes in pressurized chemical tanks, or penetrate lightly armored vehicles—such

as those used by law enforcement and protective limousine services.66 The Complaint sets out

examples of the devastation this weapon has wreaked in Mexico.67

          Moreover, the relatedness requirement would be met even without this dispositive

allegation and compelling proof. Barrett imposed its policies and practices on distributors and

dealers nationwide. Its active indifference to the illegal distribution of its weapons in other U.S.

states combines with its negligence in Massachusetts to inflict an indivisible injury68 on the

Government. This ongoing, in-forum contribution to Barrett’s longstanding head-in-the-sand

approach sufficiently relates to the Government’s claims.69


III.      THE COMPLAINT SUFFICIENTLY ALLEGES CLAIMS AGAINST BARRETT.

          The Complaint alleges that the Government’s claims are governed by “the substantive

law of Mexico, including its tort law.”70 And the Government has submitted an expert report



66
     Compl. ¶ 296.
67
     Compl. ¶¶ 212-214, 223, 299.
68
  Cf. Chao v. Ballista, 806 F. Supp.2d 358, 378 n.6 (D. Mass. July 28, 2011) (“Where . . .
injury is indivisible, the defendants are joint and severally liable for the harm—even where
they did not act in concert”); Dan B. Dobbs, The Law of Torts § 174, at 423 (2000) (“When
the plaintiff presents evidence that she suffered a single indivisible injury at the hands of
two or more tortfeasors, the burden is shifted to the tortfeasors to show that the plaintiff
suffered separable injuries and that they can be apportioned and attributed separately to the
different tortfeasors.”).
69
  See Branch Metal Processing, Inc. v. Bos. Edison Co., 952 F. Supp. 893, 910 (D. R. I.
1996) (“[defendant’s] election to place no restriction on the method or place of disposal is
tantamount to an affirmative choice to submit to jurisdiction wherever these waste products
fouled the environment”); see also Bobzien v. Philip Morris USA Inc., 2021 WL 4147011, at
*2 (N.D. Fla. June 16, 2021) (“On a claim of personal injury to a single plaintiff resulting
from long exposure to tobacco smoke . . . [i]f the defendant provided some of the tobacco in
the forum, and that tobacco contributed to the plaintiff’s indivisible injuries, the court has
personal jurisdiction over the defendant for the whole claim”).
70
     Compl. ECF 1, at ¶ 21; see also id. at ¶¶ 22, 29, 60-62.


                                                 11
          Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 16 of 23




confirming that its claims are valid under Mexican law.71 Barrett has not provided any choice-of-

law analysis to the contrary and has not addressed the validity of the claims under Mexican law.

Rather, Barrett moves to dismiss several of the Government’s claims under Massachusetts law.

To the extent the Court decides to reach those claims in the absence of a choice of law analysis

that selects Massachusetts law, these claims are adequately pleaded under Massachusetts law,

and dismissal would not be warranted.

         “To survive a motion to dismiss, a complaint must state a claim that is plausible on its

face.”72 “A claim is facially plausible if the factual content ‘allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.’”73 “While a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations . . . . [f]actual allegations must be enough to raise a right to relief above the

speculative level . . . .”74 At this stage in the litigation, the Court “must assume the truth of all

well-plead[ed] facts and give the plaintiff the benefit of all reasonable inferences therefrom.”75




71
  Shadowen Decl., Ex. 2, Plaintiff’s First Expert Report on Tort Law of Mexico (“First Tort
Law Report”).
72
  Figueroa v. Cactus Mexican Grill LLC, No. CV 21-10445-FDS, 2021 WL 5868277, at *2
(D. Mass. Dec. 10, 2021) (Saylor, J.) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007)).
73
  Big Bob’s Flooring Outlet of Am., Inc. v. Elyachar, No. CV 20-11379-TSH, 2021 WL
4477438, at *2 (D. Mass. Sept. 30, 2021) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 665
(2009)).
74
     Twombly, 550 U.S. at 555.
75
  Rhodes v. Ocwen Loan Servicing, LLC, 44 F.Supp.3d 137, 139 (D. Mass. 2014) (quoting
Ruiz v. Bally Total Fitness Holding Corp., 496 F.3d 1, 5 (1st Cir. 2007)).


                                                   12
          Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 17 of 23




          A.     The Complaint Adequately Alleges a Claim of Public Nuisance Against
                 Barrett (Count Two).

          Notably, only Barrett contends that the Government fails to state a claim for nuisance

under Massachusetts law. Even if Massachusetts, rather than Mexican law, applied, the

Government has adequately pleaded a claim of nuisance.

          The law of public-nuisance applies to Barrett’s negligent manufacturing, marketing, and

sale of its weapons. City of Boston found that “alleg[ations] that Defendants intentionally and

negligently created and maintained an illegal, secondary firearms market” (along with supporting

allegations) were “sufficient . . . to state a claim for public nuisance.”76 These allegations mirror

those in the Complaint.77

          Far from being the outlier claimed by Barrett,78 City of Boston is in line with other well-

reasoned authorities.79 For example, the Supreme Court of Ohio in City of Cincinnati allowed a

public-nuisance claim, explicitly rejecting an argument almost identical to the one that

Defendants make here.80 The Court rejected the argument that “what the law sanctions [in terms

of the distribution and sale of firearms in general] cannot be held to be a public nuisance”




76
  Shadowen Decl. Ex. 58 (City of Boston v. Smith & Wesson Corp., No. 199902590, 2000 WL
1473568, at *14 (Mass. Sup. Ct. July 13, 2000) (“City of Boston”).
77
     See, e.g., Compl. at ¶¶ 109-114, 118-124, 208-209, 227-277, 377-384, 434-505, 551-554.
78
     Barrett Mem. 11-12.
79
  Barrett relies on Camden County Bd. of Chosen Freeholders v. Beretta, 273 F. 3d 536, 540 (3d
Cir. 2011), but as set out here, that analysis there has been rejected by other courts.
80
     See City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1141-44 (Ohio 2002).


                                                   13
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 18 of 23




because the law did not apply to the unlawful and reckless distribution of firearms to an illicit

secondary market.81 The Supreme Court of Indiana held similarly,82 as have other courts.83


          B.     The Complaint Adequately Alleges a Claim of Negligence Per Se Against
                 Barrett (Court Four).

          Notably, only Barrett and Interstate Arms seek dismissal of this claim under

Massachusetts law; the other Defendants do not. As with its other claims, the Government’s

negligence per se claim is viable under Mexican law.84 Barrett provides no choice-of-law

analysis pointing to Massachusetts law. Many states, including Barrett’s home state of

Tennessee, recognize negligence per se as a separate tort.85

          If Massachusetts law did apply, the Government concedes it would have no separate

claim for negligence per se against Barrett. However, while Massachusetts does not expressly

recognize it as a separate tort, it provides that violation of a statute is “some evidence of the

defendant’s negligence as to all consequences the statute was intended to prevent.”86



81
     See id.
82
     City of Gary v. Smith & Wesson, 801 N.E.2d 1222, 1234-35 (Ind. 2003).
83
  White v. Smith & Wesson, 97 F. Supp. 2d 816, 829 (N.D. Ohio 2000) (permitting public
nuisance claims again gun manufacturer) (“City of Cleveland”); cf. City and County of San
Francisco v. Purdue Pharma L.P., 491 F. Supp. 3d 610, 683 (N.D. Cal. 2020) (permitting public
nuisance claim against pharmaceutical companies for reckless market and sale of opioids).
84
     First Tort Law Report ¶ 31.
85
  See Smith v. Owen, 841 S.W.2d 828, 831 (Tenn. Ct App.1992). Negligence per se is also a
recognized claim in: Connecticut, where Defendants Colt’s Manufacturing, Inc. and Sturm,
Ruger & Co., Inc. are “at home,” see Pelletier v. Sordoni/Skanska Constr. Co., 945 A.2d 388,
407 (Conn. 2008), in Georgia where Glock, Inc. is headquartered, see Cent. Anesthesia Assoc. v.
Worthy, 325 S.E.2d 819, 823 (Ga. App. 1984), aff’d, 333 S.E.2d 829 (Ga. 1985); and Florida,
where Defendant Century is “at home,” see Ecklebarger v. Frank, 732 So. 2d 433, 435-36 (Fla.
Dist. Ct. App. 1999).
86
  Sorenson v. H & R Block, Inc., 2002 WL 31194868, at *10 (D. Mass. Aug. 27,
2002), aff'd, 107 F. App’x 227 (1st Cir. 2004) (internal citation omitted).


                                                  14
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 19 of 23




          C.      The Complaint Adequately Alleges a Claim of Unjust Enrichment Against
                  Barrett (Count Six).

          As with its other claims, the Government’s claim for unjust enrichment is viable under

Mexican law.87 Barrett provided no choice-of-law analysis to counter the Complaint’s assertion

that the law of Mexico applies.

          Regardless, the Complaint alleges facts sufficient to state a claim against Barrett for

unjust enrichment under Massachusetts law.88 “The equitable doctrine of unjust enrichment

entitles a plaintiff to restitution for any benefit knowingly retained by the defendant at his

expense when it would be inequitable for the defendant to retain that benefit without paying the

plaintiff.”89 Plaintiff need allege only “unjust enrichment of one party and unjust detriment to

another party.”90 The Government has plainly done so here, alleging wrongful conduct by

Barrett,91 resultant harm to the Government,92 and consequent unjust enrichment of Barrett.93

          A defendant receives a benefit by not bearing an expense that it causes.94 Barrett receives

such a benefit here when the Government “pa[ys] for what may be called the Defendants’


87
     First Tort Law Report ¶¶ 80-84.
88
  Notably, only Barrett and Interstate Arms seek dismissal of this claim under Massachusetts
law; the other Defendants do not.
89
  O’Hara v. Diageo-Guinness, USA, Inc., 306 F. Supp. 3d 441, 466 (D. Mass. 2018), on
reconsideration, 370 F. Supp. 3d 204 (D. Mass. 2019).
90
     Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47, 57 (1st Cir. 2009).
91
     See, e.g., Compl. ¶¶ 3, 5, 7, 8, 15, passim.
92
     See, e.g., Compl. ¶¶ 535, 536, 538, 540, 541.
93
     See, e.g., ¶¶ 534, 537, 539.
94
   See, e.g., Massachusetts Eye and Ear Infirmary, 552 F.3d at 66 (citing 41 C.J.S. Implied
Contracts § 9 for proposition that ‘benefit’ for purposes of an unjust enrichment claim is any
form of advantage that has a measurable value, including the advantage of being saved from an
expense or loss.”); 9 Mass. Jurisprudence § 2:5 (1993) (“A person confers a benefit upon another
if he in any way adds to the other’s security or advantage.”) (citing Restatement of Restitution §
1, cmt b).


                                                     15
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 20 of 23




externalities – the costs of the harm caused by Defendants’ failure to incorporate safety devices

into their handguns and negligent marketing practices.”95 For example, City of Boston upheld an

unjust-enrichment claim where “Plaintiffs allege[d] that they have conferred a benefit upon

Defendants by paying for the costs of the harm caused by Defendants’ conduct (“externalities”). .

. . Plaintiffs further allege that Defendants undertook the alleged wrongful conduct for the

purpose of increasing their profits. Thus, Plaintiffs state a claim for unjust enrichment.”96

          Entire sections of the Complaint here are devoted to alleging these elements in detail.

Barrett intentionally participates in the unlawful design, distribution, and marketing practices in

order to increase its profits,97 all of which causes the Government to incur enormous

uncompensated expense.98

          Barrett apparently contends that the Government’s incurring the costs of its externalities

does not confer an “uncompensated benefit” on Barrett.99 To the extent Barrett is arguing that

unjust enrichment requires something approaching privity between the parties, or that plaintiff

directly transfer a “benefit” to the defendant, they are wrong. An unjust-enrichment claim “does

not require any contractual or fiduciary relationship between the parties”100 and “does not require

that a defendant receive direct payments from a plaintiff.”101 Instead, courts applying




95
     City of Cincinnati, 97 F. Supp. 2d 81 at 829.
96
     City of Boston, 2000 WL 1473568, at *18.
97
     See, e.g., Compl. ¶¶ 377-395.
98
     See, e.g., id. ¶¶ 434-505.
99
     Barrett Mem. 14.
100
      Greenwald v. Chase Manhattan Mortg. Corp., 241 F.3d 76, 78 n.1 (1st Cir. 2001).
101
      Massachusetts v. Mylan Lab’ys, 357 F. Supp. 2d 314, 323 (D. Mass. 2005).


                                                     16
           Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 21 of 23




Massachusetts, as well as other U.S. state law, hold that a defendant is unjustly enriched when a

third party bears the costs of correcting harm that the defendant caused.102

          Finally, Barrett argues that unjust enrichment “is not available to parties with an adequate

remedy at law.”103 But “there is no requirement that a claimant who seeks [equitable remedies] . .

. must first demonstrate the inadequacy of a remedy at law.”104 Regardless, it is clear in this

Circuit and elsewhere that plaintiffs may plead unjust enrichment in the alternative.105


          D.     The Complaint Adequately Alleges a Claim for Recovery of Punitive
                 Damages Against Barrett (Count Nine).

          As with its other claims, the Government’s claim for punitive damages is viable under

Mexican law.106 If Barrett had provided a choice-of-law analysis, and the Court had concluded

that Massachusetts law applies, the Government would concede it would have no separate claim

for punitive damages against Barrett under the common law counts.


                                           CONCLUSION

          For the reasons stated above, the Court should deny Defendant Barrett’s motion to

dismiss in its entirety.


102
    See, e.g., City of Boston, 2000 WL 1473568, at *18; Hocking Water Ass’n v. E.I. du Pont de
Nemours & Co., 91 F. Supp. 3d 940, 986 (S.D. Ohio 2015); City of L.A. v. Wells Fargo & Co.,
22 F. Supp. 3d 1047, 1061 (C.D. Cal. 2014); City of Cleveland, 97 F. Supp. 2d at 829; Little
Rhode Island v. Lead Indus. Ass'n, Inc., No. 99-5226, 2001 WL 345830, at *15 (R.I. Super. April
2, 2001).
103
      Barrett Mem. 14.
104
      Restatement (Third) of Restitution and Unjust Enrichment § 4 (2011).
105
   See, e.g, Baker v. Equity Residential Mgmt., L.L.C., 390 F. Supp. 3d 246, 256 (D. Mass.
2019); SiOnyx, LLC v. Hamamatsu Photonics K.K., 332 F. Supp. 3d 446, 473 (D. Mass. 2018);
Diviacci v. Affinion Group, Inc., No. 14–10283–IT, 2015 WL 3631605, at *17 (D. Mass. Mar.
11, 2015); In re Pharm. Indus. Average Wholesale Price Litig., No. CIV A 01-12257-PBS, 2007
WL 1051642, at *9 (D. Mass. Apr. 2, 2007).
106
      First Tort Law Report ¶¶ 49-56.


                                                   17
       Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 22 of 23




                              REQUEST FOR ORAL ARGUMENT

            Pursuant to Local Rule 7.1(d), Plaintiff hereby requests oral argument.



Dated: January 31, 2022                            Respectfully submitted,


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                                              18
        Case 1:21-cv-11269-FDS Document 98 Filed 01/31/22 Page 23 of 23




                                 CERTIFICATE OF SERVICE

       I, Steve D. Shadowen, hereby certify that this document was filed with the Clerk of the

Court via CM/ECF. Those attorneys who are registered with the Court’s electronic filing

systems may access this filing through the Court’s CM/ECF system, and notice of this filing will

be sent to these parties by operation of the Court’s electronic filings system.



Dated: January 31, 2022                               Respectfully Submitted,


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                                                 19
